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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT MINNESOTA


John Doe,                                   Civil Action No. 16-cv-1127 (ADM/KMM)

                  Plaintiff,


        v.                                  DECLARATION OF MAREN F. GRIER


University of St. Thomas, Minnesota,

                  Defendant.


        I Maren F. Grier, hereby declare the following:

        1.    I am an attorney in the law firm of Briggs and Morgan, P.A., which

represents Defendant University of St. Thomas (“UST”) in this matter.

        2.    I make this declaration upon my personal knowledge.

        3.    Attached hereto as Exhibit 1 is a true and correct copy of UST’s Responses

to Plaintiff’s First Requests for Production of Documents.

        4.    Attached hereto as Exhibit 2 is a true and correct copy of an October 2,

2017 letter from Beau McGraw to David Schooler.

        5.    Attached hereto as Exhibit 3 is a true and correct copy of an October 4,

2017 letter from me to Beau McGraw.

        6.    Attached hereto as Exhibit 4 is a true and correct copy of an October 24,

2017 email from Melissa Schultz to me.




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        7.     Attached hereto as Exhibit 5 is a true and correct copy of UST’s November

20, 2017 Supplemental Responses to Plaintiff’s First Interrogatories. This supplemental

response was not used by Plaintiff’s counsel during the depositions of UST employees.

        8.     Attached hereto as Exhibit 6 is a true and correct copy of a document titled

Sexual Misconduct Policy Appeal Process which was produced by UST in this litigation

and Bates-labeled UST0003406-3441.

        9.     Attached hereto as Exhibit 7 is a true and correct copy of a March 12, 2018

email from me to Beau McGraw.

        10.    In the course of communications regarding Plaintiff’s discovery requests

and UST’s objections, Plaintiff’s counsel never offered to narrow the scope of Request

No. 13 in Plaintiff’s First Requests for Production of Documents.

        11.    On March 7, 2018, I participated in a meet and confer telephone call with

Plaintiff’s counsel, Beau McGraw. On that call, I inquired into whether, as a compromise,

Plaintiff would be open to UST providing general information included on a spreadsheet

of sexual misconduct cases maintained by the Title IX Coordinator without disclosing

personal identifying information of non-party students. Counsel for Plaintiff stated that he

believed that he was entitled to see the entire unredacted document and thus rejected this

proposed potential compromise.

        12.    UST has produced 4,413 pages of documents in the course of this litigation.

Plaintiff has produced 165 pages.

        I declare under penalty of perjury that the foregoing is true and correct.



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Executed on April 11, 2018
                                           s/Maren F. Grier
                                           Maren F. Grier




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